             Case 3:19-cv-05553-BHS Document 48 Filed 09/21/21 Page 1 of 2




1                                                      THE HONORABLE BENJAMIN H. SETTLE

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6
                               UNITED STATES DISTRICT COURT
7                             WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
8
      KYLIE STEELE,                                      Case No. 3:19-cv-05553-BHS
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                             Plaintiffs,
10                                                       NEUTRAL STATEMENT OF THE
      v.                                                 CASE
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      NATIONAL RAILROAD PASSENGER
      CORPORATION, a/k/a AMTRAK, a
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      District of Columbia corporation;
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                             Defendant.
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            This is a civil case involving claims for personal injury and other damages arising out of
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     the December 18, 2017 derailment of Amtrak Cascades Train 501 near DuPont, Washington.
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     Kylie Steele is the plaintiff in this case and was a passenger on the Amtrak train when it derailed.
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     Plaintiff suffered a mild traumatic brain injury in the derailment, and alleges she suffered
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     damages as a result of that condition. Defendant Amtrak has admitted that it is liable for the
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     damages resulting from the derailment but disputes the nature and extent of the Plaintiff’s
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     damages arising out of the mild traumatic brain injury she suffered in the derailment.
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24    AGREED NEUTRAL STATEMENT OF THE CASE                                   ROSSI VUCINOVICH P.C.
                                                                               1000 Second Avenue, Suite 1780
      Page 1 of 3                                                                 Seattle, Washington 98104

25    Case No.: 3:19-cv-05553-BHS                                            (425) 646-8003/ Fax (425) 646-8004
            Case 3:19-cv-05553-BHS Document 48 Filed 09/21/21 Page 2 of 2




1    Dated: September 21, 2021

2                                       ROSSI VUCINOVICH PC

3                                       By: s/ James K. Vucinovich
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9                                       wackerbartht@lanepowell.com
                                        yatesa@lanepowell.com
10                                      ATTORNEYS FOR DEFENDANT

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24    AGREED NEUTRAL STATEMENT OF THE CASE                  ROSSI VUCINOVICH P.C.
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